
PER CURIAM.
We have for review Monnar v. State, 939 So.2d 251 (Fla. 1st DCA 2006), in which the First District Court of Appeal acknowledged (but did not certify) conflict with Galindez v. State, 910 So.2d 284 (Fla. 3d DCA 2005), approved, 955 So.2d 517 (Fla.2007). We have jurisdiction. See art. V, § 3(b)(3), Fla. Const.
We stayed proceedings in this case pending disposition of Galindez, which we ultimately decided on harmless error grounds based on a thorough review of the record. See Galindez v. State, 955 So.2d 517 (Fla.2007). We thereafter issued an order directing Petitioner to show cause why our Galindez decision should not control the outcome of the present case. However, Petitioner’s response does not contain enough information or record attachments for us to perform a Galindez harmless error analysis. Moreover, we cannot unilaterally perform such an analysis, as the record is not before this Court.
We accordingly grant the petition for review in the present case. The decision under review is quashed and this matter is remanded to the First District Court for application of a harmless error analysis based on our decision in Galindez and a thorough review of the record.
It is so ordered.
LEWIS, C.J., and WELLS, ANSTEAD, PARIENTE, QUINCE, CANTERO, and BELL, JJ., concur.
